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P.CT Corporation                                                                                  Service of Process
                                                                                                  Transmittal
                                                                                                  10/13/2021
                                                                                                  CT Log Number 540414805
 TO:         Kim Lundy- Email
             Watmart Inc.
             702 SW 8TH ST
             BENTONVILLE, AR 72716-6209

 RE:         Process Served in Georgia
 FOR:        WALMART       IINC, (Domestic State: DE)




 ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS.


 TITLE OF ACTION:                                 Re: Swanson Sylvia // To: WALWART INC.
 DOCUMENT(S) SERVED:                             Summons, Complaint Certificate(s), First Interrogatories, Information Form(s)
 COU RTiAG EN C                                  Gwinnett County State Court, GA
                                                 Case # 21C0738156
 NATURE OF ACTION:                               Personal Injury - Slip/Trip and Fall - 11/15/2019, Walnut Store located at 4221
                                                 Atlanta Highway, Loganville, GA, 30052
 ON WHOM PROCESS WAS SERVED:                     The Corporation Company (FL), Cumming, GA
 DATE AND HOUR OF SERVICE:                        By Process Server on 10/13/2021 at 14:40
 JURISDICTION SERVED :                           Georgia
 APPEARANCE OR ANSWER WEI                        Within 30 days after service, exclusive of the day of service (Document(s) may
                                                 contain additional answer dates)
 ATTORNEY(S) SENDER(S):                          Mathew K. Titus
                                                 Titus Law, LLC
                                                 5755 N Point Pkwy., Suite 88
                                                 Alpharetta, GA 30022
                                                 770-416-8426
 ACTION ITEMS:                                   CT has retained the current log, Retain Date: 10/14/2021, Expected Purge Date:
                                                 10/19/2021
                                                  Image SOP

 REGISTERED AGENT ADDRESS:                       The Corporation Company (FU
                                                 106 Colony Park Drive
                                                 STE 800-B
                                                 Cumming, GA 30040
                                                 877-564-7529
                                                 MajorAccountTeam2.0wolterskluwercom
 The information contained in this Transmittal ta provided by CT for quick reference only, It does not constitute a legal opinion, and should not otherwise be
 retied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
 of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
 advisors as necessary CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
 therein_




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                  Case 1:21-cv-04681-WMR Document 1-1 Filed 11/12/21 Page 2 of 28
                                                                                                                       E-FILED IN OFFICE RJ
                                                                                                                     CLM;th< ÖF $.TATE COURT
                                                                                                                GININNETT COUNTY, GEORGIA
                                       THE STATE COURT OF GWINNETT COUNTY                                                21 -C-07381-S6
                                                                                                                     10111/2021 3:41 PM
                                                                                                                    TINA P. GARNER, CLERK
                                                     STATE OF GEORGIA
Sylvia Swanson


                                                                                     CIVIL ACTION              21 -C-07381-S6
                                                                                         NUMB ER:

                                       PLAINTIFF


                       VS.
Walmart Inc,, Wal-Rilart Stores East,

LP, ancl Wal-Mart Realty Company



                                      DEFENDANT




                                                          SUMMONS
                                      Walmart Inc.,
                                      RA: The Corporation Company
TO THE ABOVE NAMED DEFENDANT: 106 Colony Park Drive, Suite 800-B
                                      Cumming, GA 30040
  You are hereby summoned and requira to tile with the Clerk of $aicl court and serve upon the Plaintiffs attorney, whose name
and address is:

Mathew K. Titus
5755 N Paint Pkwy
Suite 88
Alpharetta, GA 30022
an answer tG the complaint which is herewith served upon you, within 30 days after service of this summons upou you, exclusive of
the de Jair service, If y0 u fiIo do so, jiddgment by default will be taken against you for the relief demanded in the complaint.
                         •            11th   day of October, 2021
Tkj                          day of                                            20   21     .
                                                                            TIANA P. GARNER
                                                                           ericher-d--1;-A1-e*ae4er-T4r,..,
                                                                           Clerk. of State Court




                                                                                               itePuty Clerk

INSTRUCTIONS: Attach addendum hcet rot additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev, 2011
   Case 1:21-cv-04681-WMR Document 1-1 Filed 11/12/21 Page 3 of 28
                                                                                                E-FILED IN OFFICE - RJ
                                                                                              CLERK OF STATE COURT
                                                                                           GWNNTT couNry, GEORGIA
                                                                                                     21 -C -07381 -SS
                                                                                                10111/2021 3:41 PM
                                                                                                TIANA R GARNER, CLERK

                        IN THE STATE COURT OF GWINNE'TT COUNTY
                                   STATE OF GEORGIA

  SYLVIA SWANSON,

          Plaintiff,                                           JURY TRIAL DEMANDED

  V.
                                                                    CIVIL ACTION FILE
  WALMART INC., WAL-MART                                             NO,
  STORES EAST, LP, and WAL -MART
  REALTY COMPANY,                                                              21 -C-07381-S6

          Defendants_



                                               COMPLAINT
        Sylvia Swanson, Plaintiff in the above -styled civil action, files her Complaint against

Defendants and shows      this Court the   following:


                                   PARTIES AND JURISDICTION
                                                        1_

        Plaintiff Sylvia Swanson (Plaintiff') is a citizen of the   State   of Georgia.

                                                        2.

        Defendant Wall-part Inc. (hereinafter referred to as "Defendant Walrnart") is a Foreign

Corporation organized under the laws of a state of Georgia, is authorized to do business in Georgia, is

subject to the jurisdiction   of this Court for purposes of this lawsuit and may be served through its


registered agent for service of process, The Corporation Company, 106 Colony Park Drive, Suite 800-

B, Cumming, GA 30040.

                                                        3,


        Defendant Wal-Mart Stores East,        LP (hereinafter referred to as "Defendant Wal-Mart


Stores") is   a Foreign Profit Corporation organized under the laws of a state of Georgia, is authorized
to do business in Georgia, is subject to the jurisdiction of this Court for purposes of this lawsuit and


                                                 Page I of 7
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may he served through its registered agent for service of process, The Corporation Company, 106

Colony Park Drive, Suite 800-B, Cumming, GA 30040.

                                                   4.

         Defendant Wal-Mart Realty Company (hereinafter referred to as "Defendant Wal-Mart

Realty") is a Foreign Profit Corporation organized under the laws of a state of Georgia, is authorized

to do business in Georgia, is subject to the jurisdiction of this Court for purposes of this lawsuit, and

may be served through its registered agent for service of process, The Corporation Company, 106

Colony Park Drive, Suite 800-8, Cumming, GA 30040.

                                                   5.

         Venue in this ease is proper in this County and Court under 0,C.G.A, § 14-2-5E3(b)(3) because

the incident occurred in Gwinnett County, Georgia_

                                     STATEMENT OF FACTS
                                                   6_
         On or about November 15, 2019, Defendant Walmart invited the consuming public, such as

Plaintiff, to shop at the Defendant Walmart store located at 4221 Atlanta l lighway, Logartvil le, GA

30052_



         At all times relevant hereto, said Defendants Walmart were actively in control of the retail

location of 4221 Atlanta Highway, Loganville, GA 30052.



         On November 15, 2019, and all times relevant herein, .Defendants were required to exercise

reasonable care and inspection when providing products and services in the retail grocery store

facility to guests, invitees and the consuming public, including Plaintiff.




                                              Page 2 of 7
   Case 1:21-cv-04681-WMR Document 1-1 Filed 11/12/21 Page 5 of 28




                                                   9_

        Plaintiff was in the Walinart store for the purposes connected with Defendants' businesses

and therefore, has the status of an invitee_

                                                   10_

        On November 15, 2019, and at all times relevant herein. Plaintiff was an invited guest at the

Walmart store and was lawfully on the premises as a member of the consuming public.

                                                   11

        While at the aforesaid Walmart store, Plaintiff fell in the parking lot walking towards the

entrance due to a deep hole in the parking lot. Plaintiff fell with such force, causing serious bodily

injuries and damages to Plaintiff, including, but not limited to her left hip, back, left knee, and other

trauma, d isabili ty and dysfunc lion.

                                   COUNT ONE- NEGLIGENCE;
                                                   12_

        Plaintiff real leges and incorporates by reference paragraphs 1 through 10 above as if they were

fully restated verbatim herein_

                                                   13.

        Plaintiff shows that the aforesaid fall was proximately caused by the Defendants' negligent

acts and omissions including, but not limited to the following:

    a) Immediately prior to the aforesaid incident, Defendants failed to properly maintain and

        inspect the premises;

    b) Immediately prior to the aforesaid incident, defendants failed to keep the premises free from

        1v7ards and suitable for the purpose intended;

    c) Immediately prior to the aforesaid incident, Defendants failed to warn Plaintiff, as well as the

        consuming public, of the dangerous condition on the premises;


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    d) Immediately prior to the aforesaid incident, Defendants failed to take any precautions and/or

        proper design to prevent injury to Plaintiff;

    e) Immediately prior to the aforesaid incident, Defendants failed to properly mark or identify the

        hazardous area as to not constitute a danger to those who had lawful occasion to stand, walk,

        visit and/or traverse thereon;

    f) immediately prior to the aforesaid incident, Defendants failed to exercise due care for

        Plaintiff's safety, as well as the negligent hiring and training of employees, maintenance

        workers, servants and agents with regard to the hazardous condition of the premises;

    g) Any and all negligent acts and omissions which may be shown at trial including superior

        knowledge of the defect at issue.

                                                    14.

        All the injuries and damages to Plaintiff as stated herein are due ro the negligence of Defendants

and said negligence is the direct and proximate cause of the injuries, and damages to Plaintiff; unmixed

with any negligence on the part of Plaintiff

                                                    15.

        Plaintiff was free from any fault or negligence.

                                                   16.

        At all times, Plaintiff was keeping a proper lookout and exercising due care for her own

safety_ Plaintiff was not at any time aware of the negligent, defective conditions created/maintained

and allowed to exist by Defendants.

                                                   17.

       Defendants had actual and/or constructive superior knowledge of the instrumentality, danger

and hazardous condition that proximately caused Plaintiff's fall and injuries.



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                                                   18.

        As a direct and proximate result of the breaches of duty by Defendant, Plaintiff suffered

injuries and damages, including medical and other necessary expenses, and mental and physical pain

and suffering. These injuries are permanent, and, in the future, Plaintiff will suffer medical and other

necessary expenses, and mental and physical pain and suffering. Plaintiff's medical expenses to date

total $148,597.58.

                                                   19.

        By reason of the foregoing. Plaintiff is entitled to recover compensatory and other damages

from Defendant
     Ddendant in an amount to be proven at trial.

                                            COUNT TWO
                                      PREMISES LIABILITY
                                                   20.

        Plaintiff reaIleges and incorporates herein the allegations contained in paragraphs 1 through

19 above as if fully restated.

                                                   21.
        Plaintiff was an invitee on the premises at the time of the fall.

                                                   22.
        Defendants owed a nondelegable duty of reasonable care in keeping the premises safe for

invitees such as Plaintiff,

                                                   23.
        Defendants were negligent in failing to properly inspect the area where the fall occurred, in

failing to remove the hazard from the parking lot, in failing to take adequate measures to protect

invitees from defects in the walking area nd in failing to keep the premises safe for invitees.




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                                                 24

        Defendants' negligence was the proximate cause of Plaintiff s injuries_

                                                 25.
        At all times relevant to this acticm, the individuals responsible for inspecting, cleaning and

maintaining the area where Plaintiff fell were employed by Defendants and were acting within the

scope of their employment.

                                                 26.

       Defendants are responsible for the conduct of these individuals under the doctrine of

responcleat superior, and other agency principles.

                                            COUNT
                    «NEGLIGENT HIRING, TRAINING Si SUPERVISION_
                                                 27,

       Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1 through

27 above as if fully restated,

                                                 28.

       Defendants were negligent in failing to adopt appropriate policies and procedures to make

sure that appropriate inspections, cleaning and maintenance were performed on the premises and in

failing to train its employees concerning safety procedures for inspecting, cleaning and maintaining

the premises.

                                                 29.

       Defendants were negligent in training and supervising their staff

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully pray and demand as follows:

        1,      That Process and Summons issue, as provided by law, requiring Defendants to appear



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                 and answer Plaintiff's Complaint;

       2_        That service he had upon Defendants as provided by law;

                 Under Count One, Two, and Three that the Court award and enter a judgment in

                 favor of Plaintiff and against Defendants, jointly and severally, for damages in an

                 amount to be proven at trial;

       4.        That Plaintiff have a trial by a jury as to all issues; and,

       5.        That Plaintiff have such other and further relief as the Court may   deem just and

       proper.



       This 1 ith day of October, 2021.

                                                         Respectfully submitted,

                                                         TITUS LAW, LLC

                                                        • /s/ Mathew IC Titus
                                                          MATHEW K. TITUS
                                                          Georgia 13ar No. 479107
                                                          Counsel for Plaintiff

rrrus LAW, LLC
5755 North Point Parkway Suite SS
Alpharetta, GA 30022
Telephone: 770_416.8426
Facsimile: 770,818,5545
matliewa.titus-law_ci m




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                      IN TRE STATE COURT OF GWINNETT COUNTY
                                 STATE OF GEORGIA


 SYLVIA SWANSON,

         Plaintiff,                                         JURY TRIAL DEMANDED

 v.
                                                                CIVIL ACTION FILE
 WALMART INC., WAL-MART                                          NO, 21-C417381-S6
 STORES CAST, LP, and
 WAL-MART REALTY COMPANY,

         Defendants.


            PLAINTIFF'S FIRST INTERROCATORIES AND RE S UEST FOR
          PRODUCTION OF DOCUMENTS TO DEFENDANT WALMART INC.

       NOW COrvIES, Sylvia Swanson, Plaintiff in the above-slyled action, and pursuant to

0.C.G.A. Sections 9-11-33 and 9-11-34, subrnits to Walmart, Inc, Defendant, for response within

forty-five days after service hereof, in the form provided by law, the following Interrogatories and

Request for Production of Documents, the same being continuing in nature, requiring a

supplemental response upon the diseovery of other or fiirther information or documents affecting

your response hereto. In resporaing, you are requested to answer fully and produce all documents

available to you or in your possession Of in the possession of any agent, insurer, investigator, or

attorney act ing in your behalf.

                                          DEFINITIONS

        (a)     As hereinafter used, the term 'incident" shall refer to the incident giving rise to the

                Plaintiffs Complaint.

        (b)     As hereinafter used, the phrase "the area where Plaintifrs fall occurred" shall


                                                   1
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       refer to the parking lot area at the Defendant's store located at 4221, Atlanta,

       Highway, Loganville, GA 3005/

 (b)   "Documents" is an all-inclusive term referring to any written, recorded, graphic or

       pictorial matter, however produced or reproduced. The term "documents" includes,

       without limitation, correspondence, inter-office communications, minutes, reports,

       memoranda, notes, schedules, drawings, pictures, tables, graphs, charts, surveys,

       books of account, ledgers, invoices, receipts, purchase orders, contracts, bills,

       checks, drafts, recordings, and all other such documents, tangible or retrievable, of

       any kind, "Documents" includes any addenda, changes, additions or deletions

       made to any documents, and all drafts or pretiminary versions of documents.

       "Documents"     includes   information    maintained    in   any   form,   including

       computerized information and information stored electronically or optically. Such

       information that is not kept in hard copy shall be produced in hard copy in response

       to these requests to produce. If you contend that such a hard copy cannot be made,

       indicate in your response what information exist but cannot be produced_

 (c)   "Tangible items" includes all items of any physical substance other than

       "documents",

 (d)   "You" includes all persons acting on your behalf, including all employees, officers,

       agents, servants, attorneys, investigators, contractors, experts, technicians, and

       other persons acting on your behalf, "You" also includes all subsidiaries, parents

       or affiliated companies,

 (e)   "Identify" means, with respect to documents: (1) describe the document and its


                                         2
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               substance and do so sufficiently to allow for description in a subpoena or a request

               to produce; (2) state the date or dates of preparation, any title, and the preparer or

               preparers; (3) identify the custodian sufficiently to allow for production of the

               document by subpoena or a request to produce.

       (t)     With respect to an individual, "identify" means to state: (1) his/her full name; (2)

               present residence address or last known residence address; (3) his/her present or

               last employer and address of such employer; (4) his/her home and business

               telephone numbers.

       (g)     With respect to a firm, organization, trust, partnership, corporation, or other entity

               (except an individual), "identify" means: (1) state the name of the entity; (2) state

               the type of entity (whether a corporation, partnership, etc.); (3) state the address of

               its principal place of business and any business address in Georgia; and (4) identify

               its chief executive officer_

       (h)     With respect to oral communications, "identify" means to; (1) state the identity of

               the person(s) participating in each such oral communications; (2) state the

               substance of such oral communication made by each person identified; (3) state the

               date and location of such oral communication.

                                         INSTRUCTIONS           •

       Priyi.kge: If an objection based on privilege is asserted, identify the document, tangible

item., communication, or information as to which the privilege is claimed in a manner sufficient to

allow a court to determine whether the asserted privilege properly applies.

       Objections: If objections other than privilege are asserted, the statement of a general


                                                  3
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objection is not sufficient_ Set forth in any objection specifically and in sufficient detail to allow

the Court to determine whether a Motion to Compel should be granted and the objection

disallowed.

          Information to be provided: In answering these interrogatories, you must furnish

information that is available to "you". Plea9,e provide such information whether it is in your

possession or not, whether you can vouch for its accuracy, or whether or not it constitutes hearsay_

With regard to information you provide that you do not know is accurate, indicate that fact as part

of your response to the interrogatory_

                                       I. INTERROGATORIES

                                                   1.

          State the name, address, and telephone number of each individual:

          (a) who witnessed the incident or the events occurring immediately before or after the

incident;

          (b) who heard any statements made about the incident by any individual at the scene;

          (c) who you or anyone acting on your behalf have any knowledge of the incident;

          (d) who you or anyone acting on your behalf have any knowledge of the Plaintiffs

damages arising out of the incident_

                                                   2.

          For each of your employees physically present at the time and place of the incident, please

state:

          (a) his or her name, address and telephone number;

          (b) job title as of date of incident;


                                                   4
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        (e) whether she or he was on duty at the time of the incident;

        (d) the job or function she or he was performing at the time of the incident;

        (e) whether she or he is presently employed with the Defendant.



        Have you or anyone acting on your behalf interviewed any individual concerning the

incident? if so, for each individual, please state:

        (a) the name, address, and telephone number of the individual interviewed;

        (b) the date of the interview;

        (c) the name, address, and telephone number of the person who conducted the interview.

                                                   4,

        Have you or anyone acting on your behalf obtained a written or recorded statement from

einy individual, including the Plaintiff, concerning the incident? If so, for each statement state:

        (a) the name, address, and telephone number of the individual from whom the statement

was obtained;

        (b) the name, address, and telephone number of the individual who obtained the statement;

        (c) the date the statement was obtained;

       (d) the name, address, and telephone number of each person who has the original statement

or a copy.

                                                   5

       Does the Defendant have the original or copy of any accident reports prepared by Plaintiff

or any person employed by Defendant or any person acting on Defendant's behalf pertaining to the

accident alleged in the Complaint? If so, pEease state!


                                                      5
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        (a) The company form rurrnber, and date of any such reports and the name of the person

who completed such reporÉ;

        (b) WhethDr or not Plaintiff received a copy oť said report.



        State whether any investigation.s or other reports were prepared, compiled, submittecl, er

made by or on behalf of the Defendant in the regular course of business as a result of this incident.



        1f the answer to the foregoing interrogatory is in the affirmative, enumerate and identify

the same by date, subject matter, name, address, and job classifications of the person or persons

making or rendering same, and the name and address of the person or persons to whom addressed

and/or directed, and the nam; address and present whereabouts of the person who ha s present

custody and/or control thereof and the purposc of such preparation.

                                                 8,

        Please state whether or not a surveillance video camera was operating ort the premises at

the (ime of the incident, which forms the subject matter of Plaintiff s Complaint. lf your answer

is yes, please state:

        (a)     Whether the camera recorded any portion of the Incident complained of or events

                irnmediately thcreafter,

        (b)     The present location of any videotape or digital recording which recorded any

                portion of the incident complained of or any events immediately thereafter;

        (c.)    Your policy for reta ining and maintaining videotapcs or digital recordings of

                injuries which o ccur on your premises.


                                                  6
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                                                 9.

       As to the area where Plaintiffs fall occurred, please state:

       (a)     the name(s) and address of the person(s) who was charged with the responsibility

               of sweeping, mopping, cleaning or maintaining chat area on November 15, 2019;

       (b)     the complete name(s) and address(es) of the person(s) who was charged with the

               responsibility of inspecting that area on November 15, 2019;

       (a)     the complete name and address of the entity who employed the person(s) identified

               in subparts (b) and (c) above;

       (4)     if said person(s) is employed by an entity other than the Defendant, the nature of

               said entity's relationship to the Defendant (i.e. landlord, subsidiary, independent

               contractor, etc.);

       (e)     identify all documents which record, document, or relate to the duties and

               responsibilities for the inspection, sweeping, mopping, cleaning or maintaining of

               that area on November 15, 2019;

       (t)     identify all documents which record or document any actual inspection, sweeping,

               mopping, cleaning, or maintaining of that area on November 15, 2019_

                                                 10_

       State the name and address of each person you expect to call as an expert witness at the

time of the trial and as to each such witness please advise the subject matter upon which the. expert

is expected to testify, the substance of the facts and opinions to which the expert is expected to

testify and a summary of the grounds for the opinions of such expert_




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                                                    11.

        State the name and address of any expert who is known to you who may have any

information or opinion concerning any matter which may be involved in the within lawsuit,

including, but not limited to any expert with whom you have discussed any matter relating to this

case, whether or not such person is, or is not, expected to be called as a witness at trial.

                                                    12.

       Please identify each insurance policy or policies, which would be or may be used to satisfy

Or indemnify part or all of the judgment, which may be entered in this case, including:

       (a) the writer of said policy or policies;

       (b) the local agent or representative who sold said policy or policies;

       (c.) the policy number or numbers;

       (d) the policy coverage limits;

       (c) the named insured or insureds_

                                                    13.

       Please state whether or not there was any excess liability or "umbrella" insurance policy in

effect as of November 15, 2019 which would be or may be used to satisfy or indemnify part or all

of the judgment which may be entered in this case, including:

       (a) the writer of said policy or policies;

       (b) the local agent or representative who sold said policy or policies;

       (c) the policy number or numbers;

       (d) the policy coverage limits;

       (e) the named insured or insureds.


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                                                14,

       Please identify each manager of the Defendant's store located at 4221 Atlanta Highway,

Logariville, GA 30052 who was on duty on November 15, 2019, including:

       (a) His or her name, address and telephone number;

       (b) The beginning and ending times of each manager's shift;

       (c) Whether each manager is presently employed with the Defendant_

                  IL REOUEST FOR PRODUCTION OF DOCUMENTS



       All statements identified in response to Plaintiffs interrogatory number 4_

                                                 2.

       All reports identified in response to Plaintiff's interrogatory number 5_

                                                 3,

       All reports identified in response to Plaintiffs interrogatory number 6.

                                                 4,

       All surveillance videotapes or digital recordings, which recorded any events at the

Defendant's store, located at 14221 Atlanta Highway, Loganville, GA 30057, Georgia on

November 15, 2019_

                                                 5.

       Any and all photographs and/or videotapes or digital recordings, which recorded any

portion of the event complained of or any events immediately thereafter_

                                                 6_

       Any reports or records provided to you by any expert witness identified in response to


                                                 9
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Interrogatory No. 10.

                                                7_

       Any reports or records provided to you by any expert witness identified in response to

Interrogatory No. 11,

                                                8.

       The entire employee personnel file of the employee or employees identified in your

response to interrogatory numbers 2(a), 9(a), 9(b), and 14,

                                                9-

       All documents, which reflect, document, or relate to any inspection, sweeping, cleaning,

mopping or maintenance of the area where Plaintiffs fall occurred on November 15, 2019.

                                                10 _

       All documents and things, including but not limited to training manuals, policy manuals,

videotapes, CD-ROivls, DVDs, bulletins, memoranda, or policy manuals, which contains the

Defendant's policy for the periodic inspection, sweeping, cleaning, mopping or maintenance of

the floors of its stores as of November 15, 2019.



       This 11th day of October, 2021,

                                                       Respectfully submitted,

                                                       TITUS LAW, LW
                                                       /sr' Mathew K. Titus
                                                       MATI-(f.W K. TITUS
                                                       Georgia Bar No. 479107
                                                       Counsel for Plaintiff

TITUS LAW, LLC
5755 North Point Parkway Suite 88
                                                10
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Alpharetta, GA 30022
Telephone: 770,416_8426
Facsimile: 770.818.5545
matnetittis-law,com




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                          General Civil and Domestic Relations Case Filing Information Form                                     21 -C -07381-S6
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                                                                                                                      TIANA P. GARNER, CLERK
                             0 Superior or    E   State Court of            Gwinnett                County

         For Clerk Use Only                                                                    21 -C-07381-S6
         Date Filed                                              Case Number
                            MM-DO-rilfY

Plaintiff(s)                                                         Defendant(s)
Swanson,       Sylvia                                                Walmart Inc_
Last            First            Middle L     Suffix    Prefix       Lad               First         Middle I.    Suffix      Prefix
                                                                     Wal-Mart Stores East, LP
Lt              Rrs-t            Middle L     Suffix    Prefix       List              First         IMiddie I.   Suffix      Prefix
                                                                     Wal-Mart Realty Company
Last            First            Middle L     Suffix    Prefix       Lan               First         Middle I_    Suffix      Prefix


Last            First            Middle I,    Suffix    Prefix       Ian               First         Middle I.    Suffix      Prefix

Plaintiff's Attorney       Mathew Titus                              State Bar Number 479107                 Self-Represented 0

                        Check one case type and one sub-type in the same box (if a sub-type applies):

        General Civil Cases
                                                                            Domestic Relations Cases
         O       Automobile Tort
         •       Civil Appeal                                               O      Adoption
         O       Contempt/Modification/Other                                •      Contempt
                 Post-Judgment                                                     0 Non-payment of child support.
         O       Contract                                                          medical support, or alimony
         O       Garnishment                                                0      Dissolution/Divorce/Separate
                 General Tort                                                      Maintenance/Alimony
         O       Habeas Corpus                                              O      Family Violence Petition
         O       Injunction/Mandamus/Other Writ                             O      Modification
         O       Landlord/Tenant                                                   CI Custody/Parenting Time/Visitation
         O       Medical Malpractice Tort                                   O      Paternity/Legitimation
         O       Product Liability Tort                                     O      Support —
                 Real Property                                              O      Support — Private {non -IV-D)
         0
                                                                            O      Other Domestic Relations
         O       Restraining Petition
         O       Other General Civil

o       Check if the action is related to another action pending or previously pending in this court involving some or all of
        the same; parties, subject matter, or factual issues. If so, provide a case number for each.

                  Case Number                                     Case Number

        I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
        redaction of personal or confidential information in OCGA 9-11-7.1.

        Is a foreign language or sign -language interpreter needed in this case? If so, provide the language(s) required.

                                             LE nguage(s) Required

        Do you or your client need any disability accommodations? If so, please describe the accommodation request.


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                      IN THE STATE COURT OF GWINNETT COUNTY
                                 STATE OF GEORGIA

 SYLVIA SWANSON,

         Plaintiff,
                                                             JURY TRIAL DEMANDED
 v.
                                                                 CIVIL ACTION FILE
 WALMART INC., WAL-MART STORES                                    NO. 21-C-07381-S6
 EAST, LP, AND WAL-MART REALTY
 COMPANY,

         Defendants.

ANSWER AND DEFENSES OF DEFENDANT WALMART INC., WAL-MART STORES
            EAST, LP AND WAL-MART REALTY COMPANY

       COME NOW, Defendants Walmart Inc., Wal-Mart Stores East, LP, and Wal-Mart Realty

Company (herein collectively referred to as “Walmart”) and file and serve their Answer and

Defenses, showing the Court as follows:

                                           First Defense

       Plaintiff’s Complaint, taken as a whole, may fail to state a claim against one or more

Defendants upon which relief may be granted.

                                          Second Defense

       Walmart preserves defenses as to lack of personal jurisdiction and improper venue as

Walmart Inc. and Wal-Mart Realty Company have been improperly named as they do not own or

operate this store and the proper Walmart entity is Walmart Stores East, LP. Walmart further

preserves its right of removal of this matter as federal diversity jurisdiction and venue lies in the

Middle District of Georgia, Columbus Division.

                                           Third Defense

        Plaintiff’s alleged injuries and damages were caused or contributed to by Plaintiff’s own
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actions.

                                          Fourth Defense

       Walmart denies that it or its agents or employees were negligent in any way in

connection with the incident which is the subject of this litigation.

                                           Fifth Defense

       Plaintiff may not recover against Walmart because no act or omission of Walmart was the

legal cause or the proximate precipitating cause of Plaintiff’s alleged injuries and damages.

                                           Sixth Defense

       Walmart asserts the defenses of contributory and comparative negligence.

                                         Seventh Defense

       Walmart breached no duty owed to Plaintiff.

                                          Eighth Defense

       Walmart denies any and all allegations regarding failure to warn.

                                           Ninth Defense

       Walmart denies any and all allegations regarding negligent hiring, retention, training or

supervision.

                                          Tenth Defense

       Plaintiff may not recover against Walmart due to Plaintiff’s equal or superior knowledge

of any condition which she alleges resulted in this event.

                                         Eleventh Defense

       Walmart denies any and all allegations regarding negligent inspection.

                                         Twelfth Defense

       Plaintiff is not entitled to any special damages to the extent that Plaintiff has failed to




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specifically plead them in accordance with O.C.G.A. § 9-11-9(g).

                                       Thirteenth Defense

       Walmart asserts that fault must be apportioned to all at-fault parties in a manner

consistent with Georgia law.

                                       Fourteenth Defense

       Walmart reserves the right to assert all affirmative defenses available under the

applicable rules of civil procedure.

                                        Fifteenth Defense

       In answer to the specific allegations of Plaintiffs’ Complaint, Walmart shows the Court as

follows:

       1.      Admitted.

       2.      Admitted.

       3.      Denied as pled. This entity is a foreign limited partnership.

       4.      Admitted.

       5.      Denied as pled. Walmart incorporates its Second Defense.

                                   STATEMENT OF FACTS

       6.      Admitted.

       7.      Denied as pled. Walmart incorporates its Second Defense.

       8.      Denied as pled. Walmart shows that the legal duties owed Plaintiff in this matter

are an issue for the Court to determine. Walmart denies any alleged breach of duty.

       9.      Pending further investigation and discovery and to preserve defenses, denied as

pled. Walmart shows that Plaintiff’s legal status on the premises is an issue for the Court to

determine.




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        10.     Pending further investigation and discovery and to preserve defenses, denied as

pled. Walmart shows that Plaintiff’s legal status on the premises is an issue for the Court to

determine.

        11.     Walmart admits Plaintiff fell in the store parking lot and that Plaintiff sustained

injuries which will be the subject of discovery in this case. Walmart denies all other allegations

and denies liability.

                                 COUNT ONE – NEGLIGENCE

        12.     Walmart incorporates by reference its responses to Paragraphs 1 through 11 as if

set out fully herein.

        13.     Denied.

        14.     Denied.

        15.     Denied.

        16.     Denied.

        17.     Denied.

        18.     Walmart admits Plaintiff fell in the store parking lot and that Plaintiff sustained

injuries which will be the subject of discovery in this case. Walmart denies all other allegations

and denies liability.

        19.     Denied.

                           COUNT TWO – PREMISES LIABILITY

        20.     Walmart incorporates by reference its responses to Paragraphs 1 through 19 as if

set out fully herein.

        21.     Pending further investigation and discovery and to preserve defenses, denied as

pled. Walmart shows that Plaintiff’s legal status on the premises is an issue for the Court to




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determine.

        22.     Denied as pled. Walmart shows that the legal duties owed Plaintiff in this matter

are an issue for the Court to determine. Walmart denies any alleged breach of duty

        23.     Denied.

        24.     Denied.

        25.     Denied.

        26.     Denied.

              COUNT III – NEGLIGENT HIRING, TRAINING & SUPERVISION

        27.     Walmart incorporates by reference its responses to Paragraphs 1 through 19 as if

set out fully herein.

        28.     Denied.

        29.     Denied.

        30.     Walmart denies all allegations contained within Plaintiff’s prayer for relief.

        31.     Walmart denies all other allegations of the Complaint which have not been

specifically responded to in the previous paragraphs.

        WALMART HEREBY DEMANDS TRIAL BY JURY REGARDING ANY ISSUES

NOT SUBJECT TO SUMMARY ADJUDICATION.

        Having fully answered, Walmart prays that it be discharged with all costs cast against

Plaintiff.

        [SIGNATURE PAGE OF COUNSEL FOLLOWS]




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       Respectfully submitted, this 12th day of November, 2021.

                                                  DREW ECKL & FARNHAM, LLP

                                                  /s/ Douglas G. Smith, Jr.

                                                  Hall F. McKinley, III
                                                  Georgia Bar No. 495512
                                                  Michael L. Miller
                                                  Georgia Bar No. 508011
                                                  Douglas G. Smith, Jr.
                                                  Georgia Bar No. 656005
                                                  Attorneys for Walmart
303 Peachtree Street, NE
Suite 3500
Atlanta, Georgia 30308
(404) 885-1400
mckinleyh@deflaw.com
millerm@deflaw.com
smithdg@deflaw.com




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                                CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing Answer and Defenses was served by e-mail

and by filing through the Court’s electronic e-file system which will deliver notification of same

to the following counsel of record addressed as follows:

                                       Mathew K. Titus
                                       Titus Law, LLC
                               5755 North Point Parkway, Ste. 88
                                    Alpharetta, GA 30022
                                    mathew@titus-law.com
                                    Attorneys for Plaintiff

    This 12th day of November 2021.

                                             Respectfully submitted,

                                             /s/ Douglas G. Smith, Jr.
                                             _____________________________
                                             Douglas G. Smith, Jr.
                                             Georgia Bar No. 656005

DREW, ECKL & FARNHAM, LLP
303 Peachtree Street, NE
Suite 3500
Atlanta, Georgia 30308
(404) 885-6147
smithdg@deflaw.com


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